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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.                           NO. 4:14CR10-18-JLH

HENRY ARECE AKINS                                                         DEFENDANT


                                       ORDER

      Pending before the Court is a motion for issuance of summons and for revocation

of pretrial release. (Docket entry #559) For good cause shown, the motion for issuance

of summons is GRANTED. The Clerk is directed to issue summons to Defendant Henry

Arece Akins for appearance at a hearing before United States Magistrate Judge Beth

Deere on January 21, 2016, at 10:00 a.m. to show cause why his pretrial release should

not be revoked.

      IT IS SO ORDERED this 13th day of January, 2016.



                                         ____________________________________
                                         UNITED STATES MAGISTRATE JUDGE
